226 F.2d 911
    Walter C. DURST, assignee for the benefit of creditors ofJack P. Kalpakoff and Mary Kalpakoff, Debtors, Appellant,v.Jack P. KALPAKOFF and Mary Kalpakoff, and WilliamChernabaeff, Trustee in Bankruptcy of the Estateof Jack P. Kalpakoff and Mary Kalpakoff,Appellees.
    No. 14655.
    United States Court of Appeals Ninth Circuit.
    Nov. 2, 1955.Writ of Certiorari Denied Dec. 12, 1955.See 76 S.Ct. 212.
    
      Morris Lavine, Walter C. Durst, Los Angeles, Cal., for appellant.
      Siemon &amp; Siemon, Bakersfield, Cal., for appellees.
      Before STEPHENS, FEE and CHAMBERS, Circuit Judges.
      PER CURIAM.
    
    
      1
      Walter C. Durst, in the capacity of a private trustee, as assignee for the benefit of creditors, moves this court for an order 'to reverse all orders on appeal herein and to remand the cause to the United States District Court and to the Referee in Bankruptcy with instructions to dismiss proceedings involved in said appeals and vacate and set aside all orders dealing with the property described in the orders reversed and to dismiss all proceedings respecting same.'
    
    
      2
      It appears that the estate as to which the movant became assignee for the benefit of creditors went into bankruptcy and the assignee withheld certain estate property from the bankruptcy court and the referee issued a turn over order as to the referred to property.  A review of the turn over order was had to the district court and was affirmed.  The movant did not obey the turn over order and a citation for contempt issued against him.  Thereafter he complied, and the contempt proceeding was dismissed and movant was exonerated.
    
    
      3
      Thereafter movant filed his appeal, and thereafter this court dismissed the appeal.  Thereafter movant moved this court to recall its mandate which was issued subsequently to the order of dismissal.
    
    
      4
      Upon a review of the proceedings, we have concluded that the motions should be denied in every particular and it is so ordered.
    
    